Case 1:19-cv-00434-CFC-CJB Document 191 Filed 05/20/20 Page 1 of 5 PageID #: 9983




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

  PHARMACYCLICS LLC and                   )
  JANSSEN BIOTECH, INC.,                  )
                                          )
                    Plaintiffs,           )
                                          )
              v.                          ) C.A. No. 18-192 (CFC) (CJB)
                                          ) CONSOLIDATED
  SUN PHARMA GLOBAL FZE, et al.,          )
                                          )
                    Defendants.           )
  PHARMACYCLICS LLC and                   )
  JANSSEN BIOTECH, INC.,                  )
                                          )
                    Plaintiffs,           )
                                          )
              v.                          ) C.A. No. 19-434 (CFC) (CJB)
                                          )
  ALVOGEN PINE BROOK LLC and              )
  NATCO PHARMA LTD.,                      )
                                          )
                    Defendants.           )

                              NOTICE OF SERVICE

              The undersigned hereby certifies that copies of: (1) Rebuttal Expert

  Report of Professor Simon A.J. Rule, B.M.B.S., (2) Rebuttal Expert Report of

  Robert O. Williams III, Ph.D., Regarding the Validity of U.S. Patent Nos.

  9,655,857 and 10,213,386, (3) Rebuttal Expert Report of David R. Taft, Ph.D., (4)

  Responsive Expert Report of Allan S. Myerson, Ph.D. Regarding the Validity of

  U.S. Patent Nos. 9,725,455, 9,296,753, 10,106,548, and 10,125,140, and (5)
Case 1:19-cv-00434-CFC-CJB Document 191 Filed 05/20/20 Page 2 of 5 PageID #: 9984




  Rebuttal Expert Report of Paul J. Reider, Ph.D. were caused to be served on May

  18, 2020, upon the following in the manner indicated:

  Melanie K. Sharp, Esquire                               VIA ELECTRONIC MAIL
  James L. Higgins, Esquire
  Steven W. Lee, Esquire
  YOUNG CONAWAY STARGATT &
  TAYLOR, LLP
  1000 North King Street
  Wilmington, DE 19801
  Attorneys for Defendants Alvogen Pine
  Brook LLC and Natco Pharma Ltd.

  Siegmund Y. Gutman, Esquire                             VIA ELECTRONIC MAIL
  David M. Hanna, Esquire
  Michelle M. Ovanesian, Esquire
  Christopher D. Lynch, Ph.D.
  PROSKAUER ROSE LLP
  2029 Century Park East, Suite 2400
  Los Angeles, CA 90067-3010
  Attorneys for Defendants Alvogen Pine
  Brook LLC and Natco Pharma Ltd.

  Kimberly Q. Li, Esquire                                 VIA ELECTRONIC MAIL
  PROSKAUER ROSE LLP
  One International Place
  Boston, MA 02110
  Attorneys for Defendants Alvogen Pine
  Brook LLC and Natco Pharma Ltd.




                                          2
Case 1:19-cv-00434-CFC-CJB Document 191 Filed 05/20/20 Page 3 of 5 PageID #: 9985




                                      MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                      /s/ Jennifer A. Ward

                                      Jack B. Blumenfeld (#1014)
  OF COUNSEL:                         Jeremy A. Tigan (#5239)
                                      Jennifer A. Ward (#6476)
  Christopher N. Sipes                1201 North Market Street
  Erica N. Andersen                   P.O. Box 1347
  David A. Garr                       Wilmington, DE 19899
  Brianne Bharkhda                    (302) 658-9200
  Chanson Chang                       jblumenfeld@mnat.com
  Nicholas L. Evoy                    jtigan@mnat.com
  Justin Thomas Howell                jward@mnat.com
  Laura Dolbow
  COVINGTON & BURLING LLP             Attorneys for Plaintiffs
  One CityCenter
  850 Tenth Street NW
  Washington, DC 20001-4956
  (202) 662-6000

  Alexa Hansen
  David Denuyl
  COVINGTON & BURLING LLP
  Salesforce Tower
  415 Mission Street, Suite 5400
  San Francisco, CA 94105
  (415) 591-6000

  Attorneys for Pharmacyclics LLC

  Irena Royzman
  Cristina L. Martinez
  Marcus A. Colucci
  KRAMER LEVIN NAFTALIS
     & FRANKEL LLP
  1177 Avenue of the Americas
  New York, NY 10036
  (212) 715-9100



                                       3
Case 1:19-cv-00434-CFC-CJB Document 191 Filed 05/20/20 Page 4 of 5 PageID #: 9986




  Hannah Lee
  KRAMER LEVIN NAFTALIS
    & FRANKEL LLP
  990 Marsh Road
  Menlo Park, CA 94025
  (650) 752-1700

  Attorneys for Janssen Biotech, Inc.
  May 20, 2020




                                        4
Case 1:19-cv-00434-CFC-CJB Document 191 Filed 05/20/20 Page 5 of 5 PageID #: 9987




                             CERTIFICATE OF SERVICE

               I hereby certify that on May 20, 2020, I caused the foregoing to be
  electronically filed with the Clerk of the Court using CM/ECF, which will send

  notification of such filing to all registered participants.

               I further certify that I caused copies of the foregoing document to be
  served on May 20, 2020, upon the following in the manner indicated:

  Melanie K. Sharp, Esquire                                     VIA ELECTRONIC MAIL
  James L. Higgins, Esquire
  Steven W. Lee, Esquire
  YOUNG CONAWAY STARGATT &
  TAYLOR, LLP
  1000 North King Street
  Wilmington, DE 19801
  Attorneys for Defendants Alvogen Pine
  Brook LLC and Natco Pharma Ltd.

  Siegmund Y. Gutman, Esquire                                   VIA ELECTRONIC MAIL
  David M. Hanna, Esquire
  Michelle M. Ovanesian, Esquire
  Christopher D. Lynch, Ph.D.
  PROSKAUER ROSE LLP
  2029 Century Park East, Suite 2400
  Los Angeles, CA 90067-3010
  Attorneys for Defendants Alvogen Pine
  Brook LLC and Natco Pharma Ltd.

  Kimberly Q. Li, Esquire                                       VIA ELECTRONIC MAIL
  PROSKAUER ROSE LLP
  One International Place
  Boston, MA 02110
  Attorneys for Defendants Alvogen Pine
  Brook LLC and Natco Pharma Ltd.

                                           /s/ Jennifer A. Ward
                                           __________________________
                                           Jennifer A. Ward (#6476)
